       Case 1:19-cv-08253-KPF Document 103 Filed 01/11/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BOISEY CALDWELL,

                            Plaintiff,
                                                      19 Civ. 8253 (KPF)
                     -v.-
                                                            ORDER
OFFICER GERMAN GERONIMO,

                            Defendant.

KATHERINE POLK FAILLA, District Judge:

      On November 30, 2020, the Court issued an Order denying Plaintiff’s

motion for leave to amend to his complaint; denying reconsideration of the

Court’s October 15, 2020 Order denying Plaintiff’s motion to compel production

of the City of New York’s use of force records; and granting an extension of the

deadline for close of discovery through January 19, 2021. (Dkt. #96). In light

of that upcoming deadline, the parties are hereby ORDERED to submit

separate letters regarding the status of this matter and their proposals for next

steps, addressing in particular whether they anticipate seeking dispositive

motion practice, additional expert discovery, or alternative dispute resolution.

The letters shall be filed on or before February 1, 2021. The Court

contemplates that the next pretrial conference will occur following receipt of the

letters from the parties.

      The Clerk of Court is directed to mail a copy of this Order to Plaintiff’s

address of record.
     Case 1:19-cv-08253-KPF Document 103 Filed 01/11/21 Page 2 of 2




    SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                         KATHERINE POLK FAILLA
                                        United States District Judge




                                   2
